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March 4, 2025

VIA ECF & EMAIL

The Honorable Cathy Seibel
Federal Building and United States Courthouse
300 Quarropas St., Room 420
White Plains, NY 10601-4150

       Re:      Natalie Grainger v. Westchester Country Club, Inc., et al.;
                Case No. 7:23-cv-01802 (CS) (VR)

Dear Judge Seibel:

We represent Plaintiff Natalie Grainger (“Plaintiff”) and write jointly with counsel for Defendants
Westchester Country Club, Inc. (“WCC”), Mark Christiana and Tom Nevin (collectively, the
“Parties”) pursuant to this Court’s Docket Text Order dated February 28, 2025.

On September 3, 2024, Judge Reznik directed the Parties to contact Your Honor’s chambers to
schedule a Case Management Conference in order to set a briefing schedule for motion practice.
See Dkt. No. 92. The Order, however, did not contain a deadline by which the Parties were to
contact Your Honor’s chambers to schedule the aforementioned Case Management Conference.
Id. Shortly thereafter, on September 24, 2024, the Parties engaged in private mediation in a good
faith effort to resolve the case. The Parties have since been working diligently, including at times
with the assistance of the mediator, to negotiate the complex terms of a comprehensive settlement
agreement. The Parties meant no disrespect to the Court, nor was there any intention to disregard
a Court directive. (Indeed, the Parties have diligently complied with all prior court orders in this
matter.) At all times, the Parties have been working under the honest understanding that, despite
their differences, they could reach a potential resolution and not burden the Court with unnecessary
motion practice.

In any event, this matter has been resolved, and the Parties are working to execute a formal
agreement. Accordingly, the Parties respectfully request that the Court order that the Parties have
the right, upon good cause shown to re-open the matter within thirty (30) days if settlement is not
consummated.
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We thank the Court in advance for its patience and apologize for any misunderstanding.

Respectfully submitted,



Valdi Licul
Cc:    All Counsel of Record (via ECF)




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